           Case 2:21-ap-01021-ER          Doc 65 Filed 09/27/21 Entered 09/27/21 18:15:17      Desc
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       6       Attorneys for Appellant
               Anthony J. Kassas
       7
       8                                   UNITED STATES BAKRUPTCY COURT

       9                                   CENTRAL DISTRICT OF CALIFORNIA

       10                                         LOS ANGELES DIVISION

       11
       12      In re:                                        )   Case No. 2:19-BK-24457-ER
                                                             )
       13      ANTHONY J. KASSAS                             )   Chapter 7
                                                             )
       14                                                    )   Adv No. 2:21-ap-01021-ER
                              Debtor                         )
       15                                                    )
                                                             )   DEBTOR’S NOTICE RE
       16                                                    )   TRANSCRIPTS FOR APPEAL OF
               ANTHONY J. KASSAS                             )
                                                             )   JUDGMENT RE NON-
       17
                                                             )   DISCHARGEABILITY
       18                     Plaintiff                      )
                                                             )
       19               vs.                                  )
                                                             )   9th Circuit Court of Appeal
       20      THE STATE BAR OF CALIFORNIA.                  )
                                                             )   Case No. 21-55900
       21                                                    )
                              Defendant.                     )
       22                                                    )

       23
       24
       25               TO THE CLERK OF THE BANKRUPTCY COURT, APPELLEE THE
       26      STATE BAR OF CALIFORNIA AND ITS COUNSEL OF RECORD; AND OTHER
       27      PARTIES IN INTEREST:
       28               Appellant, Anthony J. Kassas, hereby gives Notice that Appellant intends to use the

RESNIK HAYES
 MORADI LLP
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               following transcript of hearing for this appeal:

          1 05/19/2021               36      Hearing re Motion for Summary Judgment
          2
          3           Appellant has the transcript for this hearing.
          4
          5
          6
          7 Dated: September 27, 2021                                  RESNIK HAYES MORADI LLP

          8
          9                                                  By:        /s/ M. Jonathan Hayes
                                                                           M. Jonathan Hayes
         10                                                                  Matthew D. Resnik
                                                                             Attorneys for Debtor
         11                                                                   Anthony J. Kassas

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RESNIK HAYES
 MORADI LLP
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        Case 2:21-ap-01021-ER                      Doc 65 Filed 09/27/21 Entered 09/27/21 18:15:17                                     Desc
                                                    Main Document    Page 3 of 3



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

17609 Ventura Blvd., Suite 314, Encino, CA 91316.

A true and correct copy of the foregoing document entitled (specify): DEBTOR’S NOTICE RE TRANSCRIPTS FOR
APPEAL OF JUDGMENT RE NON-DISCHARGEABILITY will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
9/27/2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    • Richard L Barrett thebarrettlawoffice@yahoo.com
    • Howard M Ehrenberg (TR) ehrenbergtrustee@sulmeyerlaw.com,
        ca25@ecfcbis.com;C123@ecfcbis.com;hehrenberg@ecf.inforuptcy.com
    • Suzanne C Grandt suzanne.grandt@calbar.ca.gov, joan.randolph@calbar.ca.gov
    • M. Jonathan Hayes jhayes@rhmfirm.com,
        roksana@rhmfirm.com;matt@rhmfirm.com;janita@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;david@
        rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com
    • Matthew D. Resnik matt@rhmfirm.com,
        roksana@rhmfirm.com;janita@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pardi
        s@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com
    • Valerie Smith claims@recoverycorp.com
    • United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 9/27/2021, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 9/27/2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 9/27/2021                                Daniel Lavian                                         /s/ Daniel Lavian
 Date                           Printed Name                                                    Signature


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
